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                                UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF SOUTH CAROLINA

IN RE:                                         )
                                               )      B/K Case No. 18-05568-dd
Lisa Ann DeGennaro                             )
                                               )      Chapter 7
                       Debtor                  )

                          ORDER AUTHORIZING SALE OF REAL ESTATE


This proceeding comes before the Court on the application of Kevin Campbell, the duly appointed
and acting Chapter 7 Trustee for the above Debtor (hereinafter referred to as the “Trustee”) for
authority to sell free and clear of all liens the Estate’s interest in real property known as 942
Columbus Drive, Brick, NJ 08724 to Dennis Bernat Jr., or his assigns, whose address is 73 Willet St.,
Bloomfield, NJ 07003 for $200,000.00 cash or certified funds plus an additional $10,000.00 to be
paid directly to the bankruptcy estate for a total sales price of $210,000.00.

The Court has been informed that all parties in interest have been notified of the intention to sell
said property. No objections to the proposed sale have been received or filed by any party with the
Court. The Trustee has represented to the Court that such sale is in the best interest of creditors of
the estate. The Trustee has informed the Court that the first mortgage lien claimed by Freedom
Mortgage and the UCC lien on solar panels installed on the property by Sunnova Energy
Corporation should be paid upon the sale unless otherwise agreed by the creditors. It is therefore,

ORDERED, ADJUDGED, AND DECREED, that on the terms and conditions set forth in the notice of
sale, the Trustee is authorized to sell and to convey the estate's interest in the above-described
property, and that the liens claimed by the above-named creditors shall be paid upon the sale of
said property unless otherwise agreed to by the lien creditors. The Trustee shall be reimbursed for
the $181.00 filing fee paid by him to the U.S. Bankruptcy Court for the District of South Carolina.

IT IS SO ORDERED.

 FILED BY THE COURT
     08/12/2019




                                                      David R. Duncan
                                                      Chief US Bankruptcy Judge
                                                      District of South Carolina


   Entered: 08/13/2019
